Case 3:16-md-02738-MAS-RLS           Document 29056        Filed 02/21/24     Page 1 of 2 PageID:
                                          173706



  Sterling Aldridge
  BARRETT LAW GROUP, P.A.
  404 Court Square
  P.O. Box 927
  Lexington, Mississippi 39095
  Telephone: (662) 834-2488
  Fax: (662) 834-2628
  saldridge@barrettlawgroup.com

  Attorney for Plaintiff Robert Gaines



                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                            )
  IN RE: JOHNSON & JOHNSON                  )        MDL No. 16-2738-MAS-RLS
  TALCUM POWDER PRODUCTS                    )
  MARKETING, SALES PRACTICES                )        JUDGE MICHAEL A. SHIPP
  AND PRODUCTS LIABILITY                    )
  LITIGATION                                )        MAG. JUDGE RUKHSANAH L. SINGH
                                            )
  This document relates to: Robert Gaines,  )
  deceased; Individually and as Personal    )
  Representative Of Shari Gaines, deceased; )
                                            )
  Case No: 3:17-cv-12596                    )
                                            )


       NOTICE REGARDING CMO NO. 9 (STATUS OF DECEASED PLAINTIFFS)

         Notice is hereby given pursuant to Case Management Order No. 9 (Status of Deceased

  Plaintiffs.) Robert Gaines, Personal Representative of Shari Gaines, passed away on March 23,

  2018. Counsel is currently working with Probate Counsel to have a Personal Representative or

  Administrator appointed on behalf of Robert Gaines for the Estate of Shari Gaines.
Case 3:16-md-02738-MAS-RLS   Document 29056    Filed 02/21/24     Page 2 of 2 PageID:
                                  173707



  Dated: February 21, 2024               By: /s/ Sterling Aldridge
                                         Sterling Aldridge
                                         BARRETT LAW GROUP, P.A.
                                         404 Court Square
                                         P.O. Box 927
                                         Lexington, Mississippi 39095
                                         Telephone: (662) 834-2488
                                         Fax: (662) 834-2628
                                         saldridge@barrettlawgroup.com

                                         Attorney for Plaintiff
